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                             UNITED STATES DISTRICT COURT
16
                            CENTRAL DISTRICT OF CALIFORNIA
17
                                                    CV 18-10481 FMO (JCx)
18
       SECURITIES AND EXCHANGE
19     COMMISSION,                                  FINAL JUDGMENT AS TO
                       Plaintiff,                   DEFENDANT BALANCED
20
                                                    FINANCIAL, INC.
21
              vs.
22
23     ROBERT DAVIS, JR., et al.
24
                     Defendants.
25
26           This cause comes before the Court upon the Unopposed Motion by Plaintiff
27     Securities and Exchange Commission for Entry of Final Judgments against Certain
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1      Defendants (“Motion”). By the Consent attached hereto, and without admitting or denying
2      the allegations of the Amended Complaint (except as to subject matter and personal
3      jurisdiction, which are admitted), Balanced Financial, Inc. (“Balanced Financial” or
4      “Defendant”) has: entered a general appearance; consented to entry of this Final Judgment;
5      waived findings of fact and conclusions of law; and waived any right to appeal from this
6      Final Judgment. The Court finds that good cause exists for entry of the Final Judgment.
7      Accordingly, the Commission’s Motion is GRANTED. The Court further orders as
8      follows:
9                                                     I.
10                    DISGORGEMENT AND PREJUDGMENT INTEREST
11           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
12     Balanced Financial is liable for disgorgement of $623,071.31, representing net profits
13     gained as a result of the conduct alleged in the Amended Complaint, together with
14     prejudgment interest thereon in the amount of $91,804.54, for a total of $714,875.85, all
15     jointly and severally with Defendant Gregory W. Anderson. Defendant shall satisfy this
16     obligation by paying $714,875.85 to the Securities and Exchange Commission within 30
17     days after entry of this Final Judgment.
18           Defendant may transmit payment electronically to the Commission, which will
19     provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be
20     made directly from a bank account via Pay.gov through the SEC website at
21     http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,
22     bank cashier’s check, or United States postal money order payable to the Securities and
23     Exchange Commission, which shall be delivered or mailed to
24           Enterprise Services Center
25           Accounts Receivable Branch
26           6500 South MacArthur Boulevard
27           Oklahoma City, OK 73169
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1      and shall be accompanied by a letter identifying the case title, civil action number, and
2      name of this Court; Balanced Financial as a defendant in this action; and specifying that
3      payment is made pursuant to this Final Judgment.
4            Defendant shall simultaneously transmit photocopies of evidence of payment and
5      case identifying information to the Commission’s counsel in this action. By making this
6      payment, Defendant relinquishes all legal and equitable right, title, and interest in such
7      funds and no part of the funds shall be returned to Defendant.
8            The Commission shall hold the funds (collectively, the “Fund”) until further order
9      of this Court. The SEC may propose a plan to distribute the Fund subject to the Court’s
10     approval, and the Court shall retain jurisdiction over the administration of any distribution
11     of the Fund.
12           The Commission may enforce the Court’s judgment for disgorgement and
13     prejudgment interest by using all collection procedures authorized by law, including, but
14     not limited to, moving for civil contempt at any time after 30 days following entry of this
15     Final Judgment. Defendant shall pay post judgment interest on any amounts due after 30
16     days of entry of this Final Judgment pursuant to 28 U.S.C. § 1961.
17                                                  II.
18                               INCORPORATION OF CONSENT
19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent
20     is incorporated herein with the same force and effect as if fully set forth herein, and that
21     Balanced Financial shall comply with all of the undertakings and agreements set forth
22     therein.
23                                                  III.
24                                RETENTION OF JURISDICTION
25           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
26     shall retain jurisdiction of this matter for the purposes of enforcing the terms of this Final
27     Judgment.
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